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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------X
 RICHARD HEIDEN, M.D.,                                  :
                                                        :   Index No.:
                                       Plaintiff,       :
                                                        :
                    v.                                  :   COMPLAINT
                                                        :
 NEW YORK CITY HEALTH AND                               :
 HOSPITALS CORPORATION,                                 :   Jury Trial Demanded
 PHYSICIAN AFFILIATE GROUP OF                           :
 NEW YORK, P.C., and ALAN KANTOR,                       :
 M.D.                                                   :
                                                        :
                                       Defendants.
 -------------------------------------------------------X

        Plaintiff Richard Heiden, M.D. (“Dr. Heiden” or “Plaintiff”), by and through his

undersigned counsel, Wigdor LLP, as and for his Complaint against Defendants New York City

Health and Hospitals Corporation (“NYC Health + Hospitals,” or the “Corporation”), Physician

Affiliate Group of New York, P.C. (“PAGNY” or the “Group”), and Alan Kantor, M.D.

(collectively, the “Defendants”), hereby alleges as follows:

                                    PRELIMINARY STATEMENT

        1.       Dr. Heiden is an accomplished radiologist who was prepared to join the front-line

of medical professionals battling the COVID-19 pandemic raging through New York City in the

Spring of 2020. He was willing to do his part but needed a simple, reasonable medical

accommodation: permission to perform his job remotely from home. The accommodation was

necessary because Dr. Heiden’s autoimmune disorder made it much more dangerous for him to

work on site at the Hospital.

        2.       There would be no burden on the Hospital. As Dr. Heiden explained to his boss,

Dr. Kantor, he could perform the essential functions of his job from home and, in fact, a number
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of prominent medical institutions around the country had instituted work-from-home policies for

radiologists just like him. To lighten the load, Dr Heiden even offered to pay for any costs

associated with his remote work.

         3.      Defendants never considered Dr. Heiden’s request. Rather, Dr. Kantor presented

Dr. Heiden with a Hobson’s Choice: he could either resign or Dr. Kantor would fire him for

“cause” and report him to professional licensing authorities, thus effectively ending Dr. Heiden’s

long career. Dr. Kantor also warned Dr. Heiden not to assert his legal rights. According to Dr.

Kantor, if Dr. Heiden “pursued this legally,” Dr. Kantor would have clinical staff testify against

Dr. Heiden. Having no choice, Dr. Heiden was forced to resign.

         4.       Defendants’ conduct violated the anti-discrimination and anti-retaliation

provisions of the Americans with Disabilities Act, 42 U.S.C. §§12101 et. seq. (“ADA”); the New

York State Human Rights Law, N.Y. Exec. Law § 298, et seq. (“NYSHRL”); and the New York

City Human Rights Law, N.Y.C. Admin. Code § 8-101, et seq. (“NYCHRL”).

                             ADMINISTRATIVE PREREQUISITES

         5.       Pursuant to NYCHRL § 8-502, Plaintiff will serve a copy of this Complaint upon

the New York City Commission on Human Rights and the New York City Law Department,

Office of the Corporation Counsel within ten days of its filing, thereby satisfying the notice

requirements of this action.

         6.      On October 6, 2020, Plaintiff filed a charge of discrimination and retaliation with

the Equal Employment Opportunity Commission (“EEOC”) alleging violations of the ADA. On

November 17, 2020, the EEOC subsequently issued Plaintiff a Notice of Right to Sue (“Right to

Sue”).

         7.      Plaintiff brings his complaint within 90 days of the issuance of the Right to Sue.
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       8.      Plaintiff has complied with any and all other prerequisites to filing this action.

                                 JURISDICTION AND VENUE

       9.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as this

action involves federal questions regarding the deprivation of Plaintiff’s rights under the ADA.

The Court has supplemental jurisdiction over Plaintiff’s related claims arising under State and

local law pursuant to 28 U.S.C. § 1367(a).

       10.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events or omissions giving rise to this action, including the unlawful

employment practices alleged herein, occurred in this district.

                                             PARTIES

       11.      Plaintiff Richard Heiden, M.D., is a resident of the State of New York and a

former employee of NYC Health + Hospitals and PAGNY.

       12.      Defendant NYC Health + Hospitals is a domestic not-for-profit corporation

organized under the laws of the State of New York, with a principal place of business located at

125 Worth Street, New York, New York 10029. At all relevant times, NYC Health + Hospitals

was an “employer” within the meaning of all applicable statutes.

       13.      Defendant PAGNY is a domestic professional corporation organized under the

laws of the State of New York, with a principal place of business located at 55 West 125th

Street, New York, New York 10029. At all relevant times, PAGNY was an “employer” within

the meaning of all applicable statutes.

       14.     Defendant Alan Kantor, M.D., is the Chair of the Lincoln Hospital’s Radiology

Department and Plaintiff’s direct supervisor. At all relevant times, Dr. Kantor was an

“employer” and/or “aider and abettor” within the meaning of all applicable statutes.
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                                  FACTUAL ALLEGATIONS

I.       Background

         15.    Dr. Heiden is an accomplished radiologist with over 30 years of experience in the

field.

         16.    Dr. Heiden obtained his medical degree from SUNY Downstate College of

Medicine in 1983 and started a radiology residency in 1986 after working as a general medical

practitioner.

         17.    In 2002, Dr. Heiden became the Chairman of Radiology for Interfaith Medical

Center in Brooklyn, where he had worked as the Associate Chairman from 1998 to 2002 and as

an attending radiologist from 1994 to 1998.

         18.    Dr. Heiden also worked in several other local area hospitals, including as

Chairman of Radiology at Mary Immaculate Hospital, and for over 20 years operated a part-time

practice working directly with imaging centers and clinics.

         19.    From 2012 to 2019, Dr. Heiden worked for NYC Health + Hospitals and PAGNY

in the Radiology Department at Coney Island Hospital.

         20.    NYC Health + Hospitals is the largest public health system in the United States

and PAGNY is responsible for clinical staffing at Coney Island Hospital.

         21.    While at Coney Island Hospital, Dr. Heiden consistently received excellent semi-

annual evaluation ratings.

         22.    In mid-2019, Dr. Heiden obtained a position as a full-time radiologist for Lincoln

Hospital, which is also part of NYC Health + Hospitals and staffed by PAGNY.

         23.    On October 7, 2019, Dr. Heiden started at Lincoln Hospital.
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II.    Dr. Heiden’s Reasonable Accommodation Request

       24.     In early 2020, New York City was declared a global epicenter for the COVID-19

pandemic.

       25.     Dr. Heiden became increasingly worried about the danger of working on-site at

the Hospital because he suffered from an autoimmune disorder, ulcerative colitis.

       26.     On March 23, 2020, Dr. Heiden requested a reasonable accommodation.

       27.     In a letter to Dr. Kantor, Chair of the Lincoln Hospital’s Radiology Department,

Dr. Heiden explained,

               I have an immune disorder (among other health issues) and given
               the current COVID-19 pandemic, continuing to work on site at
               Lincoln Hospital, means that I am now a disabled individual. I can
               continue to perform the essential functions of my job with an
               accommodation. The accommodation I am seeking is to work from
               home.

       28.     Dr. Heiden further explained that “[e]xcept for fluoroscopy, my job can be done

entirely at home with a PACS monitor, a high-speed internet connection and a telephone.”

       29.     Indeed, Dr. Heiden cited several prominent institutions such as Emory, NYU

Langone, the University of Wisconsin, Northwell and Stony Brook that instituted remote work

programs for radiologists such as Dr. Heiden because of the benefits to public health during the

pandemic.

       30.     Dr. Heiden even offered to pay “whatever costs are necessary to facilitate my

remote work set up.”

       31.     While Dr. Kantor claimed that he passed along Dr. Heiden’s accommodation

request to Human Resources (“HR”), no one in HR ever reached out to Dr. Heiden to consider

the accommodation request.
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III.      Defendants Fire Dr. Heiden

          32.   Dr. Kantor responded to the accommodation request by forcing Dr. Heiden to

resign.

          33.   On March 24, 2020, the day after Dr. Heiden asked to be accommodated, Dr.

Kantor presented Dr. Heiden with what purported to be a six-month performance review known

as a Focused Professional Practice Evaluation (“FPPE”).

          34.   In fact, Dr. Heiden had not yet completed his first six months at the Hospital. To

make the FPPE appear legitimate, however, Dr. Kantor falsely wrote that Dr. Heiden started

working on September 1, 2019 (even though Dr. Heiden started on October 7, 2019).1

          35.   Dr. Kantor claimed that Dr. Heiden was a poor performer. According to Dr.

Kantor, Dr. Heiden lacked a sufficient knowledge base to perform his job and was accurate in his

assessments only 93.8% of the time, below the Hospital’s 97% threshold.

          36.   These allegations were false or, at the very least, misleading.

          37.   As explained above, Dr. Heiden is an accomplished radiologist who, among other

things, chaired the radiology departments for two major urban hospitals.

          38.   Thus, any suggestion that Dr. Heiden lacked sufficient expertise was plainly

bogus.

          39.   To the contrary, Dr. Heiden worked at Coney Island Hospital (another PAGNY

hospital) for seven years before accepting the position at Lincoln Hospital. He consistently

received the highest performance ratings, including in late July 2019, only months before he




1
       The FPPE is largely illegible, suggesting that Dr. Kantor wrote in haste immediately
upon learning that Dr. Heiden had requested a reasonable accommodation.
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started at Lincoln Hospital. According to Dr. Kantor, however, Dr. Heiden suddenly – and

coincidently – forgot how to do his job when he sought an accommodation

       40.     Moreover, Dr. Kantor falsely reported Dr. Heiden’s accuracy rate.

       41.     Dr. Kantor failed to include a single instance of any alleged inaccuracy in the

written FPPE, making it impossible for Dr. Heiden to respond to the sham criticism.

       42.     Dr. Heiden had to subsequently ask for a list of the alleged identified errors.

       43.     Dr. Kantor resisted, claiming that there “was not enough time” for Dr. Heiden to

remedy these mysterious deficiencies.

       44.     Dr. Kantor predicted – without explanation – that Dr. Heiden would not be able to

remedy these undisclosed issues before Dr. Heiden’s follow-up three-month review.

       45.     Dr. Kantor nonetheless grudgingly agreed to provide Dr. Heiden with specific

information at a later date.

       46.     On Wednesday, March 25, 2020, Dr. Kantor provided Dr. Heiden with a

spreadsheet listing the cases where he purportedly did not agree with Dr. Heiden’s assessment.2

       47.     As expected, many of these alleged mistakes were either not errors at all or were

merely incidental. Overall, Dr. Heiden’s accuracy rate was 98% – above the Hospital’s

performance threshold.

       48.     Undeterred, on March 26, 2020, Dr. Kantor demanded that Dr. Heiden resign. If

not, he would fire Dr. Heiden for “cause” and report Dr. Heiden to the New York State Office of




2
         Dr. Kantor apparently created this list only after Dr. Heiden challenged the bogus
appraisal. Otherwise, Dr. Kantor would have been prepared to provide the particulars during the
initial FPPE review.
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Professional Medical Conduct (OPMC), thus threatening Dr. Heiden’s medical license and

livelihood.3

       49.     On the other hand, if Dr. Heiden resigned “immediately,” – and thus without

challenging Dr. Kantor’s bogus criticisms – Dr. Kantor would, among other things, either say

nothing negative to prospective employers or perhaps even report that Dr. Heiden was competent

at reading ultra-sounds and x-rays.

       50.     Dr. Heiden, through his wife who is an attorney, protested that Dr. Kantor was

seeking to terminate Dr. Heiden’s employment only after Dr. Heiden sought an accommodation.

       51.     Dr. Kantor claimed that the timing was merely “coincidental,” and that if Dr.

Heiden “pursued this legally,” he (Dr. Kantor) would have clinical staff testify against Dr.

Heiden.

       52.     Having no choice, on April 2, 2020, Dr. Heiden was forced to state that he had

resigned.

       53.     On June 27, 2020, Dr. Yashwant Patel, Associate Chairman of Radiology at

Coney Island Hospital, another NYC Health + Hospitals and PAGNY facility, also asked Dr.

Heiden to resign without explanation in lieu of renewing his privileges at the hospital.



3
        Dr. Kantor’s threat to report Dr. Heiden to OPMC is memorialized in a March 31, 2020,
email from PAGNY HR Business Partner Shaun Ravenel. The email states: “If Dr. Heiden
resigns after April 1st his benefits will continue until the end of April and he will not be reported
to OPMC”. Dr. Kantor’s threat is wholly improper – and likely illegal – because OPMC
reporting is typically mandatory even where a physician has resigned. See N.Y. Pub. Health
Law § 2803-e (stating that hospitals “shall” report instances of “professional misconduct” within
thirty days of “obtaining knowledge” of such “professional misconduct” or termination of
employment); id. (requiring reporting even where a physician has “resign[ed] . . . to avoid
imposition of disciplinary measures”). That neither Dr. Kantor nor anyone else at the Hospital
reported Dr. Heiden for professional misconduct establishes that Dr. Kantor’s threat was baseless
and designed to intimidate Dr. Heiden for seeking an accommodation. Indeed, mere errors in
radiology reporting hardly constitute professional misconduct. See Adrian P. Brady, Error and
discrepancy in radiology: inevitable or avoidable, Insights Imaging (2017).
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                                 FIRST CAUSE OF ACTION
                             (Discrimination in Violation of ADA)
                        (Against NYC Health + Hospitals and PAGNY)

       54.     Plaintiff hereby repeats, reiterates and re-alleges each and every allegation in each

of the preceding paragraphs as if fully set forth herein.

       55.     Defendants discriminated against Plaintiff on the basis of his disability in

violation of ADA by, inter alia, denying him equal terms and conditions of employment, and

failing to provide a reasonable accommodation.

       56.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered, and continues to suffer, monetary and/or economic harm, for which he is entitled to an

award of damages.

       57.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered, and continues to suffer, mental anguish and emotional distress, for which he is entitled

to an award of damages.

       58.     Defendants’ unlawful and discriminatory actions constitute malicious, willful and

wanton violations of ADA, for which Plaintiff is entitled to an award of punitive damages.

                               SECOND CAUSE OF ACTION
                              (Retaliation in Violation of ADA)
                        (Against NYC Health + Hospitals and PAGNY)

       59.     Plaintiff hereby repeats, reiterates and re-alleges each and every allegation in each

of the preceding paragraphs as if fully set forth herein.

       60.     Defendants retaliated against Plaintiff for engaging in protected activities in

violation of the ADA.
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       61.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered, and continues to suffer, monetary and/or economic harm, for which he is entitled to an

award of damages.

       62.     As a direct and proximate result of Defendants’ unlawful conduct in violation,

Plaintiff has suffered, and continues to suffer, mental anguish and emotional distress, for which

he is entitled to an award of damages.

       63.     Defendants’ unlawful and retaliatory actions constitute malicious, willful and

wanton violations of the ADA, for which Plaintiff is entitled to an award of punitive damages.

                                 THIRD CAUSE OF ACTION
                          (Discrimination in Violation of the NYSHRL)
                                    (Against All Defendants)

       64.     Plaintiff repeats, reiterates and re-alleges each and every allegation in all of the

preceding paragraphs as if fully set forth herein.

       65.     Defendants discriminated against Plaintiff on the basis of his disability in

violation of NYSHRL by, inter alia, denying him equal terms and conditions of employment,

and failing to provide a reasonable accommodation.

       66.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered, and continues to suffer, monetary and/or economic harm, for which he is entitled to an

award of damages.

       67.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered, and continues to suffer, mental anguish and emotional distress, for which he is entitled

to an award of damages.
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       68.     Defendants’ unlawful and discriminatory actions constitute malicious, willful and

wanton violations of the NYSHRL, for which Plaintiff is entitled to an award of punitive

damages.

                               FOURTH CAUSE OF ACTION
                           (Retaliation in Violation of the NYSHRL)
                                    (Against All Defendants)

       69.     Plaintiff repeats, reiterates and re-alleges each and every allegation in all of the

preceding paragraphs as if fully set forth herein.

       70.     Defendants retaliated against Plaintiff for engaging in protected activities in

violation of the NYSHRL.

       71.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered, and continues to suffer, monetary and/or economic harm, for which he is entitled to an

award of damages.

       72.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered, and continues to suffer, mental anguish and emotional distress, for which he is entitled

to an award of damages.

       73.     Defendants’ unlawful and discriminatory actions constitute malicious, willful and

wanton violations of NYSHRL, for which Plaintiff is entitled to an award of punitive damages.

                                 FIFTH CAUSE OF ACTION
                         (Discrimination in Violation of the NYCHRL)
                                   (Against All Defendants)

       74.     Plaintiff hereby repeats, reiterates and re-alleges each and every allegation in each

of the preceding paragraphs as if fully set forth herein.
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       75.     Defendants discriminated against Plaintiff on the basis of his disability in

violation of the NYCHRL by, inter alia, denying him equal terms and conditions of

employment, and failing to provide a reasonable accommodation.

       76.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered, and continues to suffer, monetary and/or economic harm, for which he is entitled to an

award of damages.

       77.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered, and continues to suffer, mental anguish and emotional distress, for which he is entitled

to an award of damages.

       78.     Defendants’ unlawful and discriminatory actions constitute malicious, willful and

wanton violations of NYCHRL, for which Plaintiff is entitled to an award of punitive damages.

                                 SIXTH CAUSE OF ACTION
                           (Retaliation in Violation of the NYCHRL)
                                    (Against All Defendants)

       79.     Plaintiff hereby repeats, reiterates and re-alleges each and every allegation in each

of the preceding paragraphs as if fully set forth herein.

       80.     Defendants retaliated against Plaintiff for engaging in protected activities in

violation of the NYCHRL.

       81.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered, and continues to suffer, monetary and/or economic harm, for which he is entitled to an

award of damages.

       82.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered, and continues to suffer, mental anguish and emotional distress, for which he is entitled

to an award of damages.
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       83.      Defendants’ unlawful and retaliatory actions constitute malicious, willful and

wanton violations of the NYCHRL, for which Plaintiff is entitled to an award of punitive

damages.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that the Court enter judgment in his favor and against

Defendants, containing the following relief:

       A.       A declaratory judgment that the actions, conduct and practices of Defendants

complained of herein violate federal, state and city laws;

       B.       An injunction and order permanently restraining Defendants from engaging in any

such further unlawful conduct, including the policies and practices complained of herein;

       C.       An award of damages against Defendants, in an amount to be determined at trial,

plus prejudgment interest, to compensate Plaintiff for all monetary and/or economic damages;

       D.       An award of damages against Defendants, in an amount to be determined at trial,

plus prejudgment interest, to compensate Plaintiff for all non-monetary and/or compensatory

damages, including, but not limited to, compensation for his emotional distress;

       E.       An award of punitive damages, in an amount to be determined at trial;

       F.       Prejudgment interest on all amounts due;

       G.       An award of Plaintiff’s reasonable attorneys’ fees and costs to the fullest extent

permitted by law; and,

       H.       Such other and further relief to which Plaintiff is entitled, and/or as the Court may

deem just and proper.
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                                       JURY DEMAND

      Plaintiff hereby demands a trial by jury on all issues of fact and damages stated herein.

Dated: December 7, 2020
       New York, New York                           Respectfully submitted,

                                                    WIGDOR LLP


                                                    By: ____________________________
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                                                          Bryan L. Arbeit

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